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The Honorable Benjamin H. Settle
Presented to the Court by the foreman of the
Grand Jury in open Court, in the presence of
the Grand Jury and FILED in the U.S.
DISTRICT COURT at Seattle, Washington

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By Deputy

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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

AT TACOMA
UNITED STATES OF AMERICA, NO. CR23-5207  BHS
Plaintiff
SUPERSEDING INDICTMENT
Vv.
STEVEN L. VERES,
Defendant.

The Grand Jury charges that:

COUNT I
(Influencing Federal Official by Threat)

On or about February 16, 2023, in Thurston County, within the Western District of
Washington, STEVEN L. VERES did threaten to assault and murder Victim 1, an
employee of the United States and of any agency in any branch of the United States
Government, with intent to impede, intimidate, and interfere with Victim 1 while he was

engaged in the performance of his official duties.

Superseding Indictment - 1 UNITED STATES ATTORNEY
United States v. Veres 700 STEWART STREET, SUITE 5220
USAO No. 2023R00592 SEATTLE, WASHINGTON 98101

(206) 553-7970
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The Grand Jury further alleges that STEVEN L. VERES did intentionally select
Victim | as the object of the offense of conviction because of the actual or perceived
race, color, national origin, and ethnicity of Victim 1.

All in violation of Title 18, United States Code, Sections 115(a)(1)(B) and 1114.

COUNT 2
(Interference with Federally Protected Activities)

On or about February 16, 2023, in Thurston County, within the Western District of
Washington, STEVEN L. VERES did, by force and threat of force, willfully intimidate
and interfere with, and attempt to willfully intimidate and interfere with, Victim 1,
because of Victim 1’s race and color, and because Victim 1 was and had been, and in
order to intimidate Victim | and any other person from, participating, without
discrimination on account of race and color, in federally protected activity described in
18 U.S.C. § 245(b)(1)(C), to wit, enjoying employment, or any perquisite thereof, by any
agency of the United States.

All in violation of Title 18, United States Code, Sections 245(b)(4).

FORFEITURE ALLEGATION

The allegations contained in Count 1 of this Indictment are hereby realleged and
incorporated by reference for the purpose of alleging forfeiture. Upon conviction of the
offense alleged in Couns 1, STEVEN L. VERES shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 981(a)(1)(C), by way of Title 28,
United States Code, Section 2461(c), any property that constitutes or is traceable to

proceeds of the offense.

Substitute Assets. If any of the above-described forfeitable property, as a result of

any act or omission of the defendant,

a. cannot be located upon the exercise of due diligence;
Superseding Indictment - 2 UNITED STATES ATTORNEY
United States v. Veres 700 STEWART STREET, SUITE 5220
USAO No. 2023R00592 SEATTLE, WASHINGTON 98101

(206) 553-7970
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b. has been transferred or sold to, or deposited with, a third party;

C. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or,
e. has been commingled with other property which cannot be divided
without difficulty,

it is the intent of the United States to seek the forfeiture of any other property of the
defendant, up to the value of the above-described forfeitable property, pursuant to
Title 21, United States Code, Section 853(p).

A TRUE BILL:
DATED: 9 ar Y 2023

Signature of Foreperson redacted pursuant
to the policy of the Judicial Conference of
the United States.

FOREPERSON

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ESSA M. GORMAN
icy SSA M.S States Attorney

TAWSY JAQUETTE
Assistant United States Attorney

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oN) Stat¢s Attorney
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Atal 0d
Assistant United States Attorney

Superseding Indictment - 3 UNITED STATES ATTORNEY

United States v. Veres 700 STEWART STREET, SUITE 5220

USAO No. 2023R00592 SEATTLE, WASHINGTON 98101
(206) 553-7970
